Case 22-20025-rlj11 Doc 20 Filed 02/25/22            Entered 02/25/22 17:09:55      Page 1 of 35




                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

  IN RE:                                         §
                                                 §          CASE NO. 22-20025-RLJ-11
  TONY ALTON PENNINGTON,                         §                (Chapter 11)
                                                 §
           Debtor.                               §


             SCHEDULES AND/OR STATEMENT OF FINANCIAL AFFAIRS

       I declare under penalty of perjury that I have read the following summary of schedules,
schedules, and statement of financial affairs, and that they are true and correct to the best of my
knowledge, information, and belief.



                                                       /s/ Tony Alton Pennington
                                                  TONY ALTON PENNINGTON


PROPOSED ATTORNEYS FOR DEBTOR

Jeff Carruth, SBT #24001846
WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
3030 Matlock Rd., Suite 201
Arlington, TX 76015
Phone: (713) 341-1158
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2103429.DOCX[1] — Page 1
Case 22-20025-rlj11 Doc 20 Filed 02/25/22           Entered 02/25/22 17:09:55      Page 2 of 35




                Preliminary Statement, Disclaimer, and Reservation of Rights
                  Regarding Schedules and Statement of Financial Affairs

The information contained in the following Debtor’s schedules and related statements,
disclosures, and lists in this Bankruptcy Case (collectively, the “Schedules”) represents the
information the Debtor has developed to date through its investigation of the assets, liabilities,
and affairs of the Debtor and the estate. The Debtor’s continuing review of its pre-petition books
and records could yield additional information that would change or expand the information
contained in the Schedules. Furthermore, while every effort has been made to file complete and
accurate Schedules, inadvertent errors or omissions may exist. ACCORDINGLY, THE
DEBTOR RESERVES THE RIGHT TO AMEND THE SCHEDULES. THE DEBTOR
DOES NOT WAIVE ANY ISSUE OF FACT, REMEDY, CLAIM, OR DEFENSE
PERTAINING TO ANY MATTER ADDRESSED HEREIN.

Any failure to designate a claim on the Schedules as “contingent,” “unliquidated,” or “disputed”
does not constitute an admission on the part of the Debtor that such claim is not “contingent,”
“unliquidated,” or “disputed.” Likewise, the lack of notation of a setoff on Schedule F in the
checkbox does not limit the Debtor from asserting a right of setoff and/or amended these
schedules accordingly. The Debtor reserves the right to dispute, or assert offsets or defenses to,
any claim reflected in the Schedules as to amount, liability, or classification, or otherwise
subsequently designate any claims to be “contingent,” “unliquidated,” and/or “disputed.”

All amounts listed are subject to update and verification.




2103429.DOCX[2] — Page 1
         Case 22-20025-rlj11 Doc 20 Filed 02/25/22                                    Entered 02/25/22 17:09:55                            Page 3 of 35


 Fill in this information to identify your case and this filing:
 Debtor 1             Tony                     Alton                    Pennington
                      First Name               Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name              Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                  Check if this is an
 (if known)
                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
           No. Go to Part 2.
           Yes. Where is the property?

2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any
     entries for pages you have attached for Part 1. Write that number here.............................................................                   $0.00


 Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Ford                         Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Expedition
                                                            Debtor 2 only                           Current value of the                    Current value of the
Year:                     2017
                                                            Debtor 1 and Debtor 2 only              entire property?                        portion you own?
Approximate mileage: 90,000                                 At least one of the debtors and another             $8,000.00                               $8,000.00
Other information:
2017 Ford Expedition (approx. 90,000                        Check if this is community property
miles)                                                      (see instructions)

3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Honda                        Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    HRV
                                                            Debtor 2 only                           Current value of the                    Current value of the
Year:                     2018
                                                            Debtor 1 and Debtor 2 only              entire property?                        portion you own?
Approximate mileage: 34,000                                 At least one of the debtors and another             $3,000.00                               $3,000.00
Other information:
2018 Honda HRV (approx. 34,000                              Check if this is community property
miles)                                                      (see instructions)




Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 1

         2107078
       Case 22-20025-rlj11 Doc 20 Filed 02/25/22                                      Entered 02/25/22 17:09:55                            Page 4 of 35



Debtor 1         Tony Alton Pennington                                                               Case number (if known)

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................             $11,000.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                            Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Household goods and furnishings                                                                                        $1,000.00

                                Microwave
                                Refrigerator
                                Washing machine
                                Dryer
                                Living room furniture
                                Dining room furniture
                                Den furniture
                                Bedroom furniture
                                Lawn furniture
                                Household tools
                                Small kitchen appliances
                                Plates, china, cookware

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               TV                                                                                                                       $650.00
                                Computer 2

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............


9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
                               Exercise equi.                                                                                                           $600.00
                                Camera
                                Video Camera
                                Kids bikes




Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 2

       2107078
         Case 22-20025-rlj11 Doc 20 Filed 02/25/22                                                                  Entered 02/25/22 17:09:55                                            Page 5 of 35



Debtor 1          Tony Alton Pennington                                                                                                 Case number (if known)

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                Clothing                                                                                                                                                                       $1,000.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Jewelry                                                                                                                                                                        $1,500.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............


14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                          $4,750.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                    Institution name:

             17.1.        Checking account:                      Checking account
                                                                 Wells Fargo                                                                                                                                           $945

             17.2.        Checking account:                      Checking account
                                                                 Peoples FCU                                                                                                                                           $0.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                    page 3

         2107078
       Case 22-20025-rlj11 Doc 20 Filed 02/25/22                                          Entered 02/25/22 17:09:55                Page 6 of 35



Debtor 1         Tony Alton Pennington                                                              Case number (if known)

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
                                              Issuer name:
           them...............................................
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:

                                           Retirement account:      Retirement account                                                            $10,000.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                       Schedule A/B: Property                                                      page 4

      2107078
       Case 22-20025-rlj11 Doc 20 Filed 02/25/22                                Entered 02/25/22 17:09:55                      Page 7 of 35



Debtor 1        Tony Alton Pennington                                                        Case number (if known)

Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                             Federal:
           about them, including whether
           you already filed the returns                                                                              State:
           and the tax years.....................................
                                                                                                                      Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                          Beneficiary:                      Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............


35. Any financial assets you did not already list

           No
           Yes. Give specific information



Official Form 106A/B                                                Schedule A/B: Property                                                       page 5

       2107078
         Case 22-20025-rlj11 Doc 20 Filed 02/25/22                                                  Entered 02/25/22 17:09:55                                 Page 8 of 35



Debtor 1         Tony Alton Pennington                                                                               Case number (if known)

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................    $10,000.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
                                Name of entity:
            Yes. Describe................                                                                                             % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............


44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6

         2107078
         Case 22-20025-rlj11 Doc 20 Filed 02/25/22                                                  Entered 02/25/22 17:09:55                                 Page 9 of 35



Debtor 1          Tony Alton Pennington                                                                              Case number (if known)


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7

         2107078
        Case 22-20025-rlj11 Doc 20 Filed 02/25/22                                                         Entered 02/25/22 17:09:55                                      Page 10 of 35



Debtor 1           Tony Alton Pennington                                                                                      Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................            $0.00

56. Part 2: Total vehicles, line 5                                                                                  $11,000.00

57. Part 3: Total personal and household items, line 15                                                               $4,750.00

58. Part 4: Total financial assets, line 36                                                                         $10,945.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $25,750.00              property total                 +          $25,750.00



63. Total of all property on Schedule A/B.                                                                                                                                                    $26,695.00
                                                                    Add line 55 + line 62.......................................................................................................
                                                                                                                                                                                              2




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                     page 8

         2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22                              Entered 02/25/22 17:09:55                     Page 11 of 35


 Fill in this information to identify your case:
 Debtor 1            Tony                 Alton                  Pennington
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:       Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                          $8,000.00                  $4,000.00          11 U.S.C. § 522(d)(2)
2017 Ford Expedition (approx. 90,000                                              100% of fair market
miles)                                                                            value, up to any
(1st exemption claimed for this asset)                                            applicable statutory
Line from Schedule A/B: 3.1                                                       limit

Brief description:                                          $8,000.00                  $4,000.00          11 U.S.C. § 522(d)(5)
2017 Ford Expedition (approx. 90,000                                              100% of fair market
miles)                                                                            value, up to any
(2nd exemption claimed for this asset)                                            applicable statutory
Line from Schedule A/B: 3.1                                                       limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                                Schedule C: The Property You Claim as Exempt                                              page 1


       2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22                        Entered 02/25/22 17:09:55                 Page 12 of 35



Debtor 1      Tony Alton Pennington                                                  Case number (if known)

 Part 2:       Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $3,000.00                   $0.00           11 U.S.C. § 522(d)(2)
2018 Honda HRV (approx. 34,000 miles)                                        100% of fair market
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 3.2                                                  applicable statutory
                                                                             limit

Brief description:                                      $3,000.00                $3,000.00          11 U.S.C. § 522(d)(5)
2018 Honda HRV (approx. 34,000 miles)                                        100% of fair market
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 3.2                                                  applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          11 U.S.C. § 522(d)(3)
Household goods and furnishings                                              100% of fair market
                                                                             value, up to any
Microwave                                                                    applicable statutory
Refrigerator                                                                 limit
Washing machine
Dryer
Living room furniture
Dining room furniture
Den furniture
Bedroom furniture
Lawn furniture
Household tools
Small kitchen appliances
Plates, china, cookware
Line from Schedule A/B: 6

Brief description:                                       $650.00                  $650.00           11 U.S.C. § 522(d)(3)
TV                                                                           100% of fair market
Computer 2                                                                   value, up to any
Line from Schedule A/B:     7                                                applicable statutory
                                                                             limit

Brief description:                                       $600.00                  $600.00           11 U.S.C. § 522(d)(3)
Exercise equi.                                                               100% of fair market
Camera                                                                       value, up to any
Video Camera                                                                 applicable statutory
Kids bikes                                                                   limit
Line from Schedule A/B:     9

Brief description:                                      $1,000.00                $1,000.00          11 U.S.C. § 522(d)(3)
Clothing                                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,500.00                $1,500.00          11 U.S.C. § 522(d)(4)
Jewelry                                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit


Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2


       2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22                        Entered 02/25/22 17:09:55                 Page 13 of 35



Debtor 1      Tony Alton Pennington                                                  Case number (if known)

 Part 2:       Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5)
Checking account                                                             100% of fair market
Wells Fargo                                                                  value, up to any
Line from Schedule A/B:   17.1                                               applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5)
Checking account                                                             100% of fair market
Wells Fargo                                                                  value, up to any
Line from Schedule A/B:   17.2                                               applicable statutory
                                                                             limit

Brief description:                                     $10,000.00               $10,000.00          11 U.S.C. § 522(d)(10)(E)
Retirement account                                                           100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3


       2107078
         Case 22-20025-rlj11 Doc 20 Filed 02/25/22                             Entered 02/25/22 17:09:55                    Page 14 of 35


  Fill in this information to identify your case:
  Debtor 1             Tony                  Alton                 Pennington
                       First Name            Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name           Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:

Creditor's name

Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                    Contingent
                                                    Unliquidated
City                     State   ZIP Code
                                                    Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                           Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                     $0.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                                    $0.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
         2107078
           Case 22-20025-rlj11 Doc 20 Filed 02/25/22                            Entered 02/25/22 17:09:55                    Page 15 of 35


  Fill in this information to identify your case:
  Debtor 1             Tony                  Alton                  Pennington
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
             Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                               $10,000.00          $10,000.00                $0.00
Attorney General
Priority Creditor's Name                                    Last 4 digits of account number
Texas Child Support SDU                                     When was the debt incurred?
Number        Street
P.O. Box 659791                                             As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
San Antonio                      TX      78265                 Disputed
City                             State   ZIP Code
Who incurred the debt? Check one.                           Type of PRIORITY unsecured claim:
     Debtor 1 only                                             Domestic support obligations
     Debtor 2 only                                             Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
     At least one of the debtors and another                   intoxicated
     Check if this claim is for a community debt               Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1
           2107078
         Case 22-20025-rlj11 Doc 20 Filed 02/25/22                        Entered 02/25/22 17:09:55                    Page 16 of 35



Debtor 1       Tony Alton Pennington                                                    Case number (if known)

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                     Total claim        Priority         Nonpriority
previous page.                                                                                                   amount           amount


   2.2                                                                                            $4,500.00           $4,500.00          $0.00
New Mexico Tax & Revenue Dept
Priority Creditor's Name                              Last 4 digits of account number
1100 S St Francis Dr                                  When was the debt incurred?
Number       Street
                                                      As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
Roswell                    NM      88201                 Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?
     No
     Yes

   2.3                                                                                          $45,000.00           $45,000.00          $0.00
New Mexico Tax & Revenue Dept
Priority Creditor's Name                              Last 4 digits of account number
1100 S St Francis Dr                                  When was the debt incurred?
Number       Street
                                                      As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
Roswell                    NM      88201                 Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?
     No
     Yes

   2.4                                                                                            $2,000.00           $2,000.00          $0.00
Swindell Law Firm
Priority Creditor's Name                              Last 4 digits of account number
1619 S Kentucky Suite B202                            When was the debt incurred?        03/02/2021
Number       Street
                                                      As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
Amarillo                   TX      79102                 Disputed
City                       State   ZIP Code
Who incurred the debt? Check one.                     Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?                           Attorney fees for this case
     No
     Yes

Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2
         2107078
           Case 22-20025-rlj11 Doc 20 Filed 02/25/22                             Entered 02/25/22 17:09:55                      Page 17 of 35



Debtor 1        Tony Alton Pennington                                                           Case number (if known)

  Part 2:         List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
             No. You have nothing to report in this part. Submit this form to the court with your other schedules.
             Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                        $16,850.00
Ally Financial..                                            Last 4 digits of account number         9 1        6    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?           03/2014
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 380901                                                  Contingent
                                                               Unliquidated
                                                               Disputed
Bloomington                     MN      55438
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Automobile
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                        $36,204.00
Amex..                                                      Last 4 digits of account number         6 2        8    3
Nonpriority Creditor's Name
                                                            When was the debt incurred?           02/2003
Correspondence/Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 981540                                                  Contingent
                                                               Unliquidated
                                                               Disputed
El Paso                         TX      79998
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 3
           2107078
         Case 22-20025-rlj11 Doc 20 Filed 02/25/22                           Entered 02/25/22 17:09:55                  Page 18 of 35



Debtor 1       Tony Alton Pennington                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.3                                                                                                                           $19,200.00
Amex..                                                   Last 4 digits of account number      9 1        4    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2017
Correspondence/Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 981540                                               Contingent
                                                            Unliquidated
                                                            Disputed
El Paso                       TX      79998
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                             $1,669.00
Capital One..                                            Last 4 digits of account number      3 8        9    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2005
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                Contingent
                                                            Unliquidated
                                                            Disputed
Salt Lake City                UT      84130
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
         2107078
         Case 22-20025-rlj11 Doc 20 Filed 02/25/22                           Entered 02/25/22 17:09:55                  Page 19 of 35



Debtor 1       Tony Alton Pennington                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.5                                                                                                                           $30,000.00
Davis Law Firm                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1600 Lomas Blvd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Albuquerque                   NM      87102
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Lawyer fee
Is the claim subject to offset?
     No
     Yes

   4.6                                                                                                                           $40,000.00
Hopper Pump & Drilling                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1002 Pine Hodge Rd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Roswell                       NM      88201
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgement
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 5
         2107078
         Case 22-20025-rlj11 Doc 20 Filed 02/25/22                           Entered 02/25/22 17:09:55                  Page 20 of 35



Debtor 1       Tony Alton Pennington                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.7                                                                                                                           $12,838.00
Lincoln Automotive Fin..                                 Last 4 digits of account number      3 9        1    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Po Box 542000                                               Contingent
                                                            Unliquidated
                                                            Disputed
Omaha                         NE      68154
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Automobile
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                             $8,942.00
Sst/bjt..                                                Last 4 digits of account number      9 0        9    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2014
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed

City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Recreational
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 6
         2107078
         Case 22-20025-rlj11 Doc 20 Filed 02/25/22                           Entered 02/25/22 17:09:55                  Page 21 of 35



Debtor 1       Tony Alton Pennington                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.9                                                                                                                                  $0.00
Terra Abellana                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1890 County Road 1790
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Sunset                        TX      76270
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Marital Settlement Agreement
Is the claim subject to offset?
     No
     Yes
Marital Settlement Agreement under which any obligation owed is beyond the Statue of Limitations.




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                     page 7
         2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22                           Entered 02/25/22 17:09:55                     Page 22 of 35



Debtor 1       Tony Alton Pennington                                                   Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.             $59,500.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +          $2,000.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.             $61,500.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $165,703.00


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $165,703.00




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                      page 8
      2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22                              Entered 02/25/22 17:09:55                    Page 23 of 35


 Fill in this information to identify your case:
 Debtor 1            Tony                 Alton                  Pennington
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1


      2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22                                       Entered 02/25/22 17:09:55              Page 24 of 35


 Fill in this information to identify your case:
 Debtor 1             Tony                   Alton                       Pennington
                      First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                        Check if this is an
 (if known)
                                                                                                                        amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
               In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

               Rachel Pennington
               Name of your spouse, former spouse, or legal equivalent
               3803 Lynette Dr
               Number        Street


               Amarillo                                        TX              79109
               City                                            State           ZIP Code

               In which community state or territory did you live?               NM / Texas    Fill in the name and current address of that person.

               Terra Abellana
               Name of your spouse, former spouse, or legal equivalent
               1890 County Road 1790
               Number        Street


               Sunset                                          TX              76270
               City                                            State           ZIP Code




Official Form 106H                                              Schedule H: Your Codebtors                                                            page 1


      2107078
       Case 22-20025-rlj11 Doc 20 Filed 02/25/22                        Entered 02/25/22 17:09:55                  Page 25 of 35



Debtor 1        Tony Alton Pennington                                                Case number (if known)

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                       Column 2: The creditor to whom you owe the debt

                                                                                       Check all schedules that apply:

3.1      Pennington, Rachel
                                                                                            Schedule D, line
         Name
         3803 Lynette Dr                                                                    Schedule E/F, line     4.1
         Number      Street
                                                                                            Schedule G, line

         Amarillo                                TX          79109                     Ally Financial..
         City                                    State       ZIP Code


3.2                                                                                         Schedule D, line
         Name

                                                                                            Schedule E/F, line
         Number      Street
                                                                                            Schedule G, line


         City                                    State       ZIP Code


3.3                                                                                         Schedule D, line
         Name

                                                                                            Schedule E/F, line
         Number      Street
                                                                                            Schedule G, line


         City                                    State       ZIP Code


3.4                                                                                         Schedule D, line
         Name

                                                                                            Schedule E/F, line
         Number      Street
                                                                                            Schedule G, line


         City                                    State       ZIP Code


3.5                                                                                         Schedule D, line
         Name

                                                                                            Schedule E/F, line
         Number      Street
                                                                                            Schedule G, line


         City                                    State       ZIP Code


3.6                                                                                         Schedule D, line
         Name

                                                                                            Schedule E/F, line
         Number      Street
                                                                                            Schedule G, line


         City                                    State       ZIP Code




Official Form 106H                                       Schedule H: Your Codebtors                                                   page 2


       2107078
        Case 22-20025-rlj11 Doc 20 Filed 02/25/22                            Entered 02/25/22 17:09:55                          Page 26 of 35


 Fill in this information to identify your case:
     Debtor 1              Tony                 Alton                  Pennington
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Consolidated Nuclear Security

      Occupation may include            Employer's address     PO Box 2009
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Oak Ridge                    TN      37831
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.               $10,605.31                    $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.            $10,605.31                    $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1

        2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22                                                     Entered 02/25/22 17:09:55                         Page 27 of 35



Debtor 1        Tony Alton Pennington                                                                                           Case number (if known)
                                                                                                                   For Debtor 1             For Debtor 2 or
                                                                                                                                            non-filing spouse
                                                                                                                 4.
     Copy line 4 here ...................................................................................................................
                                                                                                                               $10,605.31            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                     5a.              $966.25                  $0.00
     5b. Mandatory contributions for retirement plans                                                      5b.                $0.00                  $0.00
     5c. Voluntary contributions for retirement plans                                                      5c.                $0.00                  $0.00
     5d. Required repayments of retirement fund loans                                                      5d.                $0.00                  $0.00
     5e. Insurance                                                                                         5e.                $0.00                  $0.00
     5f. Domestic support obligations                                                                      5f.                $0.00                  $0.00
     5g. Union dues                                                                                        5g.                $0.00                  $0.00
     5h. Other deductions.
          Specify: See continuation sheet                                                                  5h. +         $2,251.77                   $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                   6.            $3,218.02                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                        Subtract line 6 from line 4.            7.            $7,387.29                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                              8a.                  $0.00                $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                            8b.                  $0.00               $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                       8c.                  $0.00             $500.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                         8d.                  $0.00                $0.00
     8e. Social Security                                                                                   8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                          8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                      8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify:                                                                                          8h. +                $0.00                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                9.                   $0.00             $500.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $7,387.29 +          $500.00 =                                                   $7,887.29
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                            11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                            12.            $7,887.29
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                  Combined
                                                                                                                                                                    monthly income




Official Form 106I                                                              Schedule I: Your Income                                                                      page 2

       2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22                       Entered 02/25/22 17:09:55            Page 28 of 35



Debtor 1      Tony Alton Pennington                                                   Case number (if known)
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                      Schedule I: Your Income                                        page 3

      2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22      Entered 02/25/22 17:09:55                 Page 29 of 35



Debtor 1     Tony Alton Pennington                                        Case number (if known)


                                                                 For Debtor 1       For Debtor 2 or
                                                                                    non-filing spouse
5h. Other Payroll Deductions (details)
     Pre CIGNA PPO SELECT                                              $702.00
     PRE VISION LT PGU                                                  $11.83
     PRE DELTA PREM                                                     $56.77
     401K SAVINGS PLAN                                                 $530.27
     Chld support                                                      $814.38
     Supplemental AD&D                                                  $15.99
     GUL Coverage                                                       $49.57
     Cafeteria payment                                                  $31.66
     Basic Life ER                                                      $39.30

                                                       Totals:       $2,251.77               $0.00




Official Form 106I                       Schedule I: Your Income                                           page 4

      2107078
        Case 22-20025-rlj11 Doc 20 Filed 02/25/22                               Entered 02/25/22 17:09:55                      Page 30 of 35


 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Tony                   Alton                  Pennington                          An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Step-Daughter                       12
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      Step-Daughter                       11
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                  Step-Daughter                       11
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                  Daughter                            2
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                  Wife
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,500.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1

        2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22                           Entered 02/25/22 17:09:55           Page 31 of 35



Debtor 1      Tony Alton Pennington                                                    Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                    $425.00
     6b. Water, sewer, garbage collection                                                           6b.                    $175.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                    $250.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                    $1,235.00
8.   Childcare and children's education costs                                                       8.                     $800.00
9.   Clothing, laundry, and dry cleaning                                                            9.                     $200.00
10. Personal care products and services                                                             10.                    $150.00
11. Medical and dental expenses                                                                     11.                    $200.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                    $575.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.

     15b.   Health insurance                                                                        15b.

     15c.   Vehicle insurance                                                                       15c.                   $270.00
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.                    $200.00
17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    Is in wifes name- 2018 Honda                              17a.                   $624.46
     17b.   Car payments for Vehicle 2    Is in wifes name -2017 Ford                               17b.                   $121.37
     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                          page 2

       2107078
     Case 22-20025-rlj11 Doc 20 Filed 02/25/22                             Entered 02/25/22 17:09:55                    Page 32 of 35



Debtor 1      Tony Alton Pennington                                                            Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                $6,725.83
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                $6,725.83

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                $7,887.29
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –            $6,725.83
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                $1,161.46

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                page 3

      2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22                                                      Entered 02/25/22 17:09:55                                    Page 33 of 35


 Fill in this information to identify your case:
 Debtor 1                Tony                          Alton                         Pennington
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................             $0.00


     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................... ...........................................................
                                                                                                                                                                          $26,695.00


     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................... ...........................................................
                                                                                                                                                                                 $26,695.00


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................                                             $0.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                        $61,500.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $165,703.00
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                         $227,203.00




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $7,887.29
     Copy your combined monthly income from line 12 of Schedule I..................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                   $6,725.83




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                         page 1


       2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22                               Entered 02/25/22 17:09:55                  Page 34 of 35



Debtor 1       Tony Alton Pennington                                                        Case number (if known)


 Part 4:         Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
            Yes

7.   What kind of debt do you have?

            Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
            family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     xx     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
            this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $10,291.04


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                   $59,500.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00


     9d. Student loans. (Copy line 6f.)                                                                                $0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.    Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00

     9g. Total.     Add lines 9a through 9f.                                                                     $59,500.00




Official Form 106Sum                Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2


          2107078
      Case 22-20025-rlj11 Doc 20 Filed 02/25/22                          Entered 02/25/22 17:09:55                Page 35 of 35


 Fill in this information to identify your case:
 Debtor 1           Tony                  Alton              Pennington
                    First Name            Middle Name        Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name        Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.




    X /s/ Tony Alton Pennington                             X
        Tony Alton Pennington, Debtor 1                         Signature of Debtor 2

        Date 08/31/2021                                         Date
             MM / DD / YYYY                                            MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                       page 1


      2107078
